,'g ~§W HOMXAP@
Aff"ldavit of Matthew Murrow. United StaEs Postal InSDector
l, l\/latthew Murrow, being first duly sworn on oath, state as follows:

l. I am a U. S. Postal inspector with the U. S. Postal lnspection Service (USPIS), and l have
been so employed since April 2008. Prior to that, l was a police officer for 13 years and was
involved in numerous investigations, including narcotics investigations l am currently assigned to
the Springfield, Missouri, Domicile ofthe Postal Inspection Service and have experience enforcing
federal mail and drug laws. This affidavit is based on my own personal knowledge and information
given to me by other Postal lnspectors and other law enforcement personnel.

2. l received basic training for approximately 12 weeks from the U.S. Postal lnspection Service
regarding individuals using the U.S. l\/lail to transport controlled substances and proceeds from the
sale of controlled substances as well as the use of Postal l\/loney Orders to launder the proceeds of
controlled substances l received formal training for one week in September 201 l when lattended
the USPIS Narcotics training course in Potomac, Maryland. This training involved narcotic
investigation techniques, chemical field testing, and training in the identification and detection of
controlled substances and narcotic proceeds being transported in the U.S. l\/lail and other commercial
carriers. As a U.S. Posta| lnspector, I have been involved in numerous narcotics investigations
involving the U.S. l\/lail.

3. This affidavit is made in support of an application for a search warrant for United States
Postal Service (USPS) Priority l\/lail Express parcel EEl 12960348US. The parcel is addressed to
"‘Tony Whalen, 4166 N Farm Rd 159, Springfield MO 65803”, with a return address of“l\/lary
Whalen, 24279 E 7"] St, SAN Bernardino CA 92410”, and was mailed on August 7, 2018, from San
Bernardino, California 92401. Further, this parcel weighs approximately 12 pounds, 8 ounces, is a

brown, USPS Ready Post box measuring approximately 20”xl4”x l 0”, and bears $96.25 in postage

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(hereinafter Subject Parcel). A photograph ofthe Subject Parcel is included as ATTACHMENT A.
The Subject Parcel is currently in my possession, at the Springfield, Missouri, Domicile of the
USPIS, in Greene County, l\/lissouri, which is within the Western District ofMissouri. Based on my
experience and on the facts set forth in this affidavit, l believe the Subject Parcel contains evidence
of violations 0f21 U.S.C. §§ 841 (a)(l) (possession with intent to distribute a controlled substance);
843(b) (unlawful use of a communications facility to facilitate the distribution of a controlled
substance); and 846 (conspiracy, including, but not limited to, to distribute controlled substances).
4. Experience and drug trafficking intelligence information gathered by the USPIS have
demonstrated that the USPS Express l\/lail and Priority Mail are frequently utilized by drug
traffickers for shipping controlled substances or proceeds/payments Use of Express l\/lail and
Priority l\/lail are favored because of the speed (Express l\/Iail has overnight delivery and Priority
l\/lail has two-day delivery), reliability, free telephone and internet package tracking service, as well
as the perceived minimal chance of detection Express Mail was originally intended for urgent,
business to business correspondence intelligence from prior packages that were found to contain
controlled substances or proceeds/payments, has indicated that the labels on those packages are
usually from an individual to an individual

5. information gathered by the USPIS has also demonstrated that other delivery couriers, such
as FedEx and United Parcel Service, are frequently utilized by drug traffickers for shipping
controlled substances or proceeds/payments lnformation gathered by the USPIS has demonstrated
that the services and delivery practices of FedEx and United Parcel Service (UPS) are similar to
USPS Express l\/Iail and Priority l\/Iail. Like USPS Express l\/lail and Priority l\/lail, FedEx and UPS
services are used because of the speed, reliability, free telephone and internet tracking service, as

well as the perceived minimal chance ofdetection. Like the USPS Express l\/lail and Priority l\/lail,

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FedEx and UPS were originally intended for urgent, business to business correspondence However,
intelligence from prior packages that were found to contain controlled substances or
proceeds/payments has indicated that the shipping labels from those packages are also usually from
one individual to an another individual

6. ln an effort to combat the flow of controlled substances through the overnight delivery
services, interdiction programs have been established in areas throughout the United States by the
USPlS. These areas have been identified as known sources of controlled substances The USPIS
conducted analysis of prior packages mailed via overnight delivery services that were found to
contain controlled substances or proceeds/payments of controlled substance sales.

7. The analysis of prior packages that were found to contain controlled substances or
proceeds/payments, indicated that these labels are usually from one individual to another individual
ln the few cases when overnight delivery packages containing controlled substances or
proceeds/payments have displayed a business or company name, it has usually proven to be a
fictitious business or company Additionally, this analysis has established a series ofcharacteristics
which, when found in combination of two or more, have shown a high probability that the package
will contain a controlled substance or the proceeds of controlled substance sales.

8. This profile includes the following characteristics: package mailed from or addressed to a
narcotic source area, package has a fictitious retum address, package addressee name is unknown at
the destination address, package sender name is unknown at the return address, package has address
information which is handwritten, package is mailed from a Commercial l\/lail Receiving Agency

(Cl\/IRA, such as a UPS store or other mailing service), package is addressed to residential areas,

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package is addressed from an individual to an individual, packages are wrapped in brown paper
and/or heavily taped, and the ZIP Code from where the package was mailed is different than the ZIP
Code used in the return address.

9. In my experience, l have found that the characteristics listed in the previous paragraphs are
indicative of packages which have been found to contain illegal controlled substances or the
proceeds/payments for controlled substances ln my experience, l know that payments are made
using cash, gift cards, credit cards, wire transfers, money orders, and through other financial
transactions ln my experience, it is not unusual for persons involved in sending illegal drugs
through the mail or other commercial carrier services to send other drug-related items like drug use
paraphernalia in addition to payment, records, or other drug related communications

10. On August 8, 2018, l was contacted by Postal lnspector Anthony Jacobs, ofthe USPlS Los
Angeles Division, regarding the Subject Parcel Postal lnspector Jacobs had identified the Subject
Parcel as possibly containing controlled substances and advised it was en route for delivery in my
territory (l\/Iissouri). I contacted the Griesemer Station Post Office in Springfield, l\/lissouri, and
learned the Subject Parcel was already out for delivery. l arranged for Postal Inspector Chris Eby to
meet with the mail carrier and retrieve the Subject Parcel for me. He secured the Subject Parcel in
my office.

l 1. l checked the return and delivery addresses through law enforcement and USPS databases
and could find no record of the return address. lt appears the address listed is not an actual address
in San Bernardino, California. l could find no one with the names “Tony” or “Whalen” associated to
the delivery address The package also demonstrated other characteristics consistent with a suspect
package including the handwritten information, it being addressed to a residential area, and it was

addressed to and from individuals.

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12. L,ater, on August B, 2018, l met with Springfield, Missouri, Police Department (SPD)
Detective Jason Cop|ey and his canine partner Rocky. The Subject Parcel was presented to Rocky,
along with several "sterile” boxes. Copley advised Rocky indicated the odor of a controlled
substance coming from the Subject Parcel and not the other boxes. Copley advised Rocky is
certified on the odors of methamphetaminc9 cocaine, marijuana, heroin, and ecstasy (MDl\/IA).
Rocky and Copley are both certified as a “NPCA Narcotics Detector Dog Tearn” by the National
Police Canine Association, after completing a 6-week, 240-hour course of basic obedience and drug
odor recognition This is an annual certification that was last completed on ianuary 17,2018. Rocky
is trained as a passive indicator canine and indicates the presence of narcotic odors by sitting, staring,
laying, standing, and/or pointing at the source of narcotic odor.

13. Based on these facts, l believe there is probable cause to believe that the Subject Parcel
contains evidence of violations of 21 U.S.C. §§ 84l(a)(l), (possession with intent to distribute a
controlled substance); 843(b) (unlawful use of a communications facility to facilitate the distribution
of a controlled substance); and 846 (conspiracy, including, but not limited to, to distribute controlled
substances), and request a search warrant be issued to search the Subject Parcel and seize the items

listed in ATTACHMENT B.

  
 

Furt your Affiant sayeth not.

 

l\/fatthew l\/lurrow
United States Postal Inspector

Subscribed and sworn before me this 12 day of temlzm?

D'avid P. Rush
United States l\/lagistrate Judge

 

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